             Case 1:18-cv-02885-ESH Document 30 Filed 04/23/19 Page 1 of 2



                         0IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JEROME CORSI,
Plaintiff,

              v.

ROBERT MUELLER, et al                                Civil Action No. 1:18-cv-02885
Defendants


      PLAINTIFF MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
                          MOTION TO DISMISS

           Plaintiff Jerome Corsi (“Plaintiff”) hereby moves this Court for a second 6-day extension

of time, until and including April 29, 2019 to file a response to the Government Defendants’

Motion to Dismiss Complaint. ECF No. 22. This requested extension will not affect any other

previously set deadlines or hearings.

           The reason for this request is that counsel for Plaintiffs has been under an unusually

heavy litigation schedule that has required him to travel extensively from coast to coast for client

exigencies. This will also allow for Plaintiff to consolidate his opposition to the Government

Defendants’ Motion to Dismiss Complaint, ECF No. 22, with its Motion to Dismiss Counts III

and IV. ECF No. 28.

           Pursuant to the Local Civil Rules, counsel for Plaintiffs has conferred with counsel for

Defendants and they have consented to the relief sought, on the condition that Defendants also

receive an additional 6 days to file a reply, until and including May 19, 2019. Plaintiff consents

to this.

           WHEREFORE, Plaintiffs respectfully request for good cause that this Court grant

Plaintiff’s 6-day extension of time or until and including April 29, 2019

Dated: April 23, 2019                                  Respectfully submitted,
         Case 1:18-cv-02885-ESH Document 30 Filed 04/23/19 Page 2 of 2



                                                     /s/ Larry Klayman
                                                     Larry Klayman, Esq.
                                                     KLAYMAN LAW GROUP, P.A.
                                                     2020 Pennsylvania Avenue N.W.
                                                     Suite 800
                                                     Washington, D.C. 20006
                                                     (310) 595-0800
                                                     leklayman@gmail.com



                                CERTIFICATE OF SERVICE

       I, Larry Klayman, counsel for Plaintiffs hereby certify that on this day, April 23, 2019, a

copy of the foregoing was filed via this Court’s ECF system and served upon all parties and/or

counsel of record.


                                                             /s/ Larry Klayman
                                                             Larry Klayman




                                                2
